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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION


Philip Wilkinson and Pam Reed,                 §
individually and on behalf of                  §
a class or classes of all others similarly     §
situated,                                      §
                                               §              Cause No. ____________
                        Plaintiffs             §
                                               §
v.                                             §
                                               §
BDO USA, LLP and                               §
BDO International Ltd.,                        §
                                               §
                        Defendants.



                         PLAINTIFFS’ NOTICE OF RELATED CASE

        Under Local Rule 3.3, Plaintiffs Philip Wilkinson and Pam Reed, individually and on

behalf of a class or classes of all others similarly situated, file this Notice of Related Case.

Under Local Rule 3.3(b)(3), and to the best of Plaintiffs’ knowledge, a related case is Securities

and Exchange Commission v. Stanford International Bank, Ltd., et al., Cause Number 3:09-cv-

0298-N, currently pending before Judge Godbey.
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Dated: May 26, 2011
                                     Respectfully submitted,

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